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CLERK’S OFFICE CO-932
UNI'I`ED S'I`ATES DlSTRICT COURT Rev. 4/96
FOR THE DISTRICT OF COLUMBIA

NOTICE OF DESIGNATION OF RELATED CIVlL CASES PENDING

lNTHlS OR ANY OT E T TES COURT
ET f § § 12 ____411'7

Civil Action No.
UCT 2 5 2012

(To be supplied by the Clerk)
Cierk U. S. District 81 Bankruptcy

Pursuant to Rule 40. 5(b)(2), you are required gt?'grx@pta)r!etgftd)s°db§i1€ft§l§'\f€l§laat the time of filing any civil action which is
related to any pending cases or which involves the same parties and relates to the same subject matter of any dismissed related cases
This form must be prepared in sufficient quantity to provide one copy for the Clerk's records, one copy for the Judge to whom the
cases is assigned and one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two
defendant case, etc.

NOTICE TO PARTIES:

NOTICE TO 'DEFENDAN'I`:

Rule 405(b)(2) of this Court requires that you serve upon the plaintiff and file with your first responsive pleading or motion
any objection you have to the related case designation

NOTICE TO ALL COUNSEL

Rule 405(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case
or cases, such attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice
on counsel for all other parties.
'l`he plaintiff , defendant~or counsel must complete the following:

I. RELATIONSHIP OF NEW CASE TO PENDING RELATED CASEjS).

A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(e’s)
below.] 7

[:| (a) relates to common property
m (b) involves common issues of fact
g (c) grows out of the same event or transaction
l::l (d) involves the validity or infringement of the same patent
2 (e) is filed by the same pro se litigant
2. RELATIONSHIP OF NEW CASE TO DISMISSED RELATED CASE(ES)

A new case is deemed related to a case dismissed, with or without prejudice, in this or any other U.S. Court, if the new case
involves the same parties and same subject matter.

 

 

Check box if` new case is related to a dismissed case: [:l

 

 

 

3. NAME THE UNITED STATES COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS
COURT)!
4. CAPTION AND CASE NUMBER OF RELATED CASE(E’S). IF MORE ROOM IS NEED PLEASE USE OTHER SIDE.
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DATE Signature of Plaintiff /Defendant (or counsel)

